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     AYLA, LLC                                                Alya Skin Pty. Ltd.
 8
 9                                  UNITED STATES DISTRICT COURT
10                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
11   AYLA, LLC, a Delaware Limited Liability            )
     Company,                                           )   Case Number: 4:19-cv-00679 HSG
12                                                      )   Hon. Haywood S Gilliam, Jr.
             Plaintiff,                                 )
13                                                      )   JOINT STIPULATION AND
                                                        )   ORDER FOR AN EXTENSION OF TIME
14           vs.                                        )   FOR PLAINTIFF AYLA, LLC AND
                                                        )   DEFENDANT ALYA SKIN PTY. TO
15   ALYA SKIN PTY. LTD., an Australian                 )   FILE CASE MANAGEMENT
     Private Company,                                   )   STATEMENT
16                                                      )
             Defendant.                                 )   Conference Date: December 7, 2021
17                                                      )   Time: 2:00 p.m.
18           Pursuant to Civil Local Rules 6-1(b), 6-2 and 7-12 and Judge Gilliam’s Order [Dkt. 61],
19   it is hereby stipulated, by and between Plaintiff AYLA LLC (“Ayla”) and Defendant ALYA
20   SKIN PTY. LTD. (“Alya Skin”), through their counsel of record and subject to the approval of
21   this Court, that the date for Ayla and Alya Skin to file the Case Management Statement be
22   extended twenty-eight (28) days, up to and including Tuesday, November 30, 2021.
23           This request for additional time is made by the parties to give the parties sufficient time
24   to hold the Rule 26(f) conference and exchange initial disclosures prior to the conference.
25   Additionally, this request is made by the parties to promote settlement discussions, facilitate
26   settlement prospects and this request is made in the interest of judicial economy.
27   ///
28   ///

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 1   SO STIPULATED:
 2                                                    Respectfully Submitted,
 3
 4   DATED: November 2, 2021                          LOWENSTEIN & WEATHERWAX LLP
 5                                                    By:     /s/ Bridget A. Smith          _
 6                                                             BRIDGET A. SMITH
 7                                                              Counsel for plaintiff
 8   DATED: November 2, 2021                          MILLS SADAT DOWLAT LLP
 9                                                    By:     /s/Camron Dowlatshahi _
10                                                            CAMRON DOWLATSHAHI
11                                                              Counsel for defendant
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 1                                       ECF CERTIFICATION
 2           Pursuant to Civil Local Rule 5-1(i)(3), the filing attorney attests that she has obtained

 3   concurrence regarding the filing of this JOINT STIPULATION AND [PROPOSED] ORDER

 4   FOR AN EXTENSION OF TIME FOR PLAINTIFF AYLA, LLC AND DEFENDANT ALYA

 5   SKIN PTY. TO FILE CASE MANAGEMENT STATEMENT from Camron Dowlatshahi,

 6   Counsel for Defendant ALYA SKIN PTY. LTD., the signatory to this document.

 7
 8   DATED: November 2, 2021                          LOWENSTEIN & WEATHERWAX LLP
 9                                                    By: ______/s/ Bridget A. Smith ______ __
                                                              BRIDGET A. SMITH
10                                                            Counsel for plaintiff
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 1                                                   ORDER

 2           PURSUANT TO THE PARTIES’ STIPULATION, IT IS SO ORDERED
 3   Dated: 11/2/2021                                 By: _____________________
 4                                                    HON. HAYWOOD. S. GILLIAM, JR.
 5                                                    UNITED STATES DISTRICT JUDGE
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